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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 19-cr-00098-CMA

UNITED STATES OF AMERICA,

              Plaintiff,

v.

1.     LEONARD LUTON

           Defendant.
______________________________________________________________________

          UNITED STATES’ MOTION FOR PRELIMINARY ORDER OF
                 FORFEITURE FOR A SUBSTITUTE ASSET
______________________________________________________________________

       COMES NOW the United States of America (“United States”), by and through

Acting United States Attorney Matthew T. Kirsch and Assistant United States Attorney

Elizabeth Young, and respectfully moves this Court, pursuant to 21 U.S.C. § 853(p) and

Fed. R. Crim. P. 32.2(b)(2)(A), for entry of a Preliminary Order of Forfeiture for a

Substitute Asset, specifically, a 2008 Honda CR-V bearing VIN: 5J6RE48738L047902

which was seized from defendant Leonard Luton on January 22, 2019, in Estes Park,

Colorado (“2008 Honda CR-V”).

       In support of its motion, the United States submits the following:

I.     Factual Background

       1.     On July 10, 2019, the grand jury charged defendant Leonard Luton by

Superseding Indictment with: Conspiracy to Commit Mail Fraud in Count One, in

violation of 18 U.S.C. § 1349, and Aiding and Abetting Mail Fraud in Counts Two

through Ten, in violation of 18 U.S.C. §§ 1341 and 2. (Doc. 45 at 1-4).



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       2.     The Superseding Indictment also provided the defendant with notice that

the United States sought forfeiture, pursuant to 18 U.S.C. § 1981(a)(1)(C) and 28

U.S.C. § 2461(c), of any and all of the defendant’s right, title, and interest in all property

constituting and derived from any proceeds obtained directly and indirectly as a result of

the scheme, including but not limited to, a personal money judgment in the amount of

proceeds obtained as a result of the offenses charged in Counts One through Ten.

(Doc. 45 at 5-6). The Superseding Indictment also provided the defendant with notice

that the United States would seek forfeiture of other property as a substitute asset

pursuant to 21 U.S.C. § 853(p). (Doc. 45 at 5-6).

       3.     On February 13, 2020, a jury found defendant Leonard Luton guilty of

Counts One through Three and Counts Five through Ten, in violation of 18 U.S.C. §§

1349, 1341, and 2. (Doc. 105).

       4.     On June 8, 2020, the Court entered the Preliminary Order of Forfeiture for

a Personal Money Judgment against defendant Leonard Luton, for an amount that was

to be determined later at sentencing. (Doc. 128).

       6.     On August 10, 2021, defendant Leonard Luton was sentenced. His

sentence included a personal money judgment in the amount of $484,123.16 and he

was ordered to pay restitution to victims in the amount of $884,947.41. (Doc. 151).

       7.     The United States now seeks forfeiture of the 2008 Honda CR-V as a

substitute asset.

II.    Legal Analysis

       Forfeiture is a mandatory element of sentencing imposed following conviction.

See United States v. Arnold, 878 F.3d 940, 945 (10th Cir. 2017); 28 U.S.C. § 2461(c)



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(“the court shall order the forfeiture of the property as part of the sentence in the

criminal case.”). Indeed, the Supreme Court recently reiterated that forfeiture statutes

“serve important governmental interests such as ‘separating a criminal from his ill-

gotten gains,’ ‘returning property, in full, to those wrongfully deprived or defrauded of it,’

and ‘lessen[ing] the economic power’ of criminal enterprises.” Honeycutt v. United

States, 137 S. Ct. 1626, 1631, 198 L. Ed. 2d 73 (2017) (citations omitted).

       When proceeds or directly forfeitable property are unavailable, the Court “shall

order” the forfeiture of substitute assets up to the value of the unavailable assets. 21

U.S.C. § 853(p)(2); 28 U.S.C. 2461(c). Pursuant to 21 U.S.C. § 853(p), an asset is

unavailable when “as a result of any act or omission of the defendant” the asset: “(A)

cannot be located upon the exercise of due diligence; (B) has been transferred or sold

to, or deposited with, a third person; (C) has been placed beyond the jurisdiction of the

Court; (D) has been substantially diminished in value; or (E) has been commingled with

other property which cannot be divided without difficulty.” 21 U.S.C. § 853(p)(1)(A)-(E).

These factors are determined by the Court. United States v. Alamoudi, 452 F.3d 310,

315 (4th Cir. 2006) (Booker does not apply to the imposition of substitute assets,

because § 853(p) “requires the court to allow the Government to seize substitute

property when the defendant has placed the assets initially sought - and to which the

Government is legally entitled - beyond the court’s reach.”). Further, Section 853(p) is

interpreted “liberally” so as to prevent “efforts by a defendant to circumvent the

economic impact of an anticipated criminal forfeiture sentence.” Id. at 316 (citation

omitted). In this case, the Court entered a personal money judgment in the amount of

$484,123.16 representing the amount of proceeds defendant Leonard Luton obtained



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as a result of the criminal scheme. The United States has not been able to seize and

forfeit the full amount of the proceeds because they have been spent, diminished in

value, or transferred by the defendant and cannot be located by the United States upon

the exercise of due diligence.

        Federal Rule of Criminal Procedure 32.2(e)(1) provides the framework for a

court, post-conviction, to “at any time enter an order of forfeiture or amend an existing

order of forfeiture to include property that . . . (B) is substitute property that qualifies for

forfeiture under an applicable statute.” Fed. R. Crim. P. 32.2(e)(1)(B). If the court is

satisfied that the property is subject to forfeiture under Rule 32.2(e)(1), it must enter an

order forfeiting the property. Fed. R. Crim. P. 32.2(e)(2)(A).

        Unlike other types of forfeiture there is no nexus or tracing requirement for the

forfeiture of substitute property under 21 U.S.C. § 853(p) and Rule 32.2(e)(1)(B). By

definition substitute property is “property that neither comprises the fruits of nor is

connected to the defendant’s alleged crime.” United States v. Jarvis, 499 F.3d 1196,

1203-04 (10th Cir. 2007).

        In this case, defendant Leonard Luton is the owner of the 2008 Honda CR-V,

which was impounded at the time of his arrest. Therefore, the United States is seeking

to forfeit defendant Leonard Luton’s interest in the 2008 Honda CR-V as a substitute

asset, up to the amount set forth in the forfeiture money judgment entered against him. 1

The current estimated value of the 2008 Honda CR-V is $6,025.00 2, which is

substantially less than the amount of the money judgment.


1 After the 2008 Honda CR-V is forfeited, the United States will sell the vehicle. The amount to be applied

to defendant Leonard Luton’s forfeiture money judgment will be the net amount the United States
receives after costs and expenses related to the sale of the vehicle.
2 See Exhibit 1, appraisal of 2008 Honda CR-V


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III.   Conclusion

       Accordingly, the United States respectfully requests that the Court grant this

Motion for Preliminary Order of Forfeiture for a Substitute Asset and order the forfeiture

of the 2008 Honda CR-V as a substitute asset. The United States further requests that

the Court retain jurisdiction to enter any further orders necessary for the forfeiture and

disposition of the subject property and to entertain any third-party claims that may be

asserted. Fed. R. Crim. P. 32.2(e).

       DATED this 1st day of October 2021.

                                                 Respectfully submitted,

                                                 MATTHEW T. KIRSCH
                                                 Acting United States Attorney

                                          By:    s/ Elizabeth Young
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of October 2021, I electronically filed the
foregoing with the Clerk of Court using the ECF system, which will send notice to all
counsel of record.

                                               s/ Jasmine Zachariah
                                               FSA Data Analyst
                                               U.S. Attorney’s Office




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